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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                           Criminal No. 11-cr-150-02-JL

David Moses

                                   O R D E R

        The assented to motion to reschedule jury trial (document no. 27)

filed by defendant Moses is granted; No further continuances without

a showing of exceedlingly good cause.            As co-defendants Joshua Bixby

and Anthony Carr are in agreement to this continuance, the final

pretrial and trial as to all defendants is rescheduled as follows:

Final Pretrial is rescheduled to April 11, 2012 at 11 AM; Trial is

continued to the two-week period beginning May 1, 2012 at 9:30 AM.

        Defendant Moses shall file a waiver of speedy trial rights within

10 days.     The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the defendant

in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for the reasons set

forth in the motion.

        SO ORDERED.




Date:     February 9, 2012

cc:     Jonathan Cohen, Esq.
        Donald Kennedy, Esq.
        Theodore Lothstein, Esq.
        Jennifer Davis, Esq.
        U.S. Marshal
        U.S. Probation
